                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                           Civil Action No.: 5:18-cv-197-BO


EPIC GAMES, INC.,                       )
                                        )
                        Plaintiff,      )
                                        )
                    v.                  )               ANSWER
                                        )
THOMAS HANNAH,                          )
                                        )
                        Defendant.      )
                                        )


       Now comes Defendant Thomas Hannah (hereinafter “HANNAH” or

“Defendant”), through undersigned counsel, and answers the Complaint of

Plaintiff as follows:

                                 NATURE OF ACTION

     1.       The averments contained in Paragraph 1 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

     2.       The averments contained in Paragraph 2 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

     3.       The averments contained in Paragraph 3 are conclusions of law to

which no response is required. To the extent a response is deemed required,




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Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

     4.      Admitted in part. It is admitted that this action (or claims alleged

in the complaint) purport to be for breach of contract and misappropriation of

trade secrets. The remaining averments in Paragraph 4 are denied.

     5.      The averments in Paragraph 5 are denied.

     6.      Defendant is without sufficient knowledge or information to either

admit or deny the allegations contained in Paragraph 6 and therefore denies

same.

     7.      The averments contained in Paragraph 7 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

     8.      The averments contained in Paragraph 8 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

     9.      The averments contained in Paragraph 9 are conclusions of law

and/or allegations of speculation to which no response is required. To the extent

a response is deemed required, Defendant is without sufficient knowledge or

information to either admit or deny the allegations contained therein and

therefore denies same.




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     10.     The averments contained in Paragraph 10 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

                                THE PARTIES

     11.     Defendant is without sufficient knowledge or information to either

admit or deny the allegations contained in Paragraph 11, is not required to

research the same, and therefore denies same.

     12.     Admitted.

                         JURISDICTION AND VENUE

     13.     Admitted.

     14.     Admitted in part. It is admitted that this Court has personal

jurisdiction over Defendant by his consent to jurisdiction in this District, and

also because Defendant resides in this District. The remaining averments in

Paragraph 14 are denied.

     15.     Admitted in part. It is admitted that venue is proper in this

District pursuant to the stated statute because this is a District in which

Plaintiff claims a substantial part of the events giving rights to its claims

occurred. The remaining averments in Paragraph 15 are denied.

                  FACTS APPLICABLE TO ALL CLAIMS

                              Epic and Fortnite

     16.     Admitted in part. It is admitted that Epic is located in Cary, North

Carolina and develops and/or publishes computer games and software. It is



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further admitted that Defendant knew Epic made Gears of War and Unreal

Engine and it is Defendant’s opinion that they are best known for these two

games. Defendant is also well aware that Epic is the creator, developer, and

publisher of Fortnite. For the remaining averments in Paragraph 16, Defendant

is without sufficient knowledge or information to either admit or deny the

allegations contained therein and therefore denies same.

     17.      Admitted.

     18.      Upon information and belief, admitted. By way of further response,

Defendant avers that he worked on “Fortnite”, not “Fortnight Battle Royale”

which is different.

     19.      Defendant is without sufficient knowledge or information to either

admit or deny the allegations contained in Paragraph 19 and therefore denies

same. By way of further response, Defendant avers that the referenced screen

print Figure 1 speaks for itself, if it is in fact a true and correct copy from Epic’s

website.

     20.      Admitted. By way of further response, Defendant avers that he

worked on “Fortnite”, not “Fortnight Battle Royale” which is different.

     21.      Defendant is without sufficient knowledge or information to either

admit or deny the allegations contained in Paragraph 21 and therefore denies

same.

     22.      Defendant is without sufficient knowledge or information to either

admit or deny the allegations contained in Paragraph 22 and therefore denies

same.



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                      Epic’s Trade Secrets in Fortnite

    23.      Admitted in part. It is admitted that Epic is the owner of Fortnite-

related work product, games, software, and the like. Defendant is without

sufficient knowledge or information to either admit or deny the remaining

allegations contained in Paragraph 23 and therefore denies same.

    24.      Defendant is without sufficient knowledge or information to either

admit or deny the allegations contained in Paragraph 24 and therefore denies

same.

    25.      Defendant is without sufficient knowledge or information to either

admit or deny the allegations contained in Paragraph 25 and therefore denies

same.

    26.      Admitted in part. It is admitted that Epic required a fully executed

NDA of Defendant, and presumably from other similarly-situated contractors or

employees. It is further admitted that at the time Defendant was employed by

Epic and/or contracted through Volt and working at Epic, that Epic required

assigned Epic user names, passwords, and additional heightened authentications

of access to the computer system. Defendant is without sufficient knowledge or

information to either admit or deny the remaining allegations contained in

Paragraph 26 and therefore denies same.

                              Defendant’s NDA

    27.      Admitted.

    28.      Admitted. By way of further response, Defendant avers that it was

not very often that Defendant had knowledge of and/or worked on games that



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were not yet released or already known to the public. And that even when this

occurred, it was not for that long of a period. Further, Defendant was never

granted access to knowledge or information that was months or even several

weeks ahead of a scheduled release.

     29.     Admitted in part. It is admitted that Defendant was required to

sign, and did sign, an NDA contemporaneously with the commencement of his

engagement with Volt. Defendant denies the remaining allegations contained in

Paragraph 29.

     30.     Admitted. By way of further response, Defendant avers that the

referenced NDA attached to the Complaint as Exhibit A speaks for itself,

     31.     Admitted.

     32.     Admitted.

     33.     Admitted.

     34.     Admitted.

     35.     Admitted.

     36.     Admitted.

     37.     Defendant is without sufficient knowledge or information to either

admit or deny the allegations of Paragraph 37 and therefore denies same.

     38.     The averments contained in Paragraph 38 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

     39.     The averment in Paragraph 39 is denied.



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                   The Defendant and His Unlawful Acts

     40.     Defendant is without sufficient knowledge or information to either

admit or deny the allegations of Paragraph 40 and therefore denies same.

     41.     Admitted in part. It is admitted that a third party (referred to

herein as well as the Complaint as Adam DiMarco or DiMarco), while speaking

with Defendant, pumped Defendant with a series of questions and guesses

regarding where the meteor would hit. Based on Defendant’s initial response

that it wouldn’t be hitting a place one would expect and, after further questions

from DiMarco, that it wouldn’t be Titled Towers, DiMarco then gathered on his

own and guessed if it would be Dusty Depot, to which Defendant confirmed yes.

It is further admitted that DiMarco then unilaterally published the information

he had deduced on his own from Defendant’s initial comments. It is further

admitted that this publication/posting was made by DiMarco without any

agreement or instruction from the Defendant whatsoever. The remaining

averments contained in Paragraph 41 are conclusions of law to which no

response is required. To the extent a response is deemed required, Defendant is

without sufficient knowledge or information to either admit or deny the

remaining allegations contained in Paragraph 41 and therefore denies same.

     42.     Defendant is without sufficient knowledge or information to either

admit or deny the allegations of Paragraph 42 and therefore denies same.

     43.     Defendant is without sufficient knowledge or information to either

admit or deny the allegations of Paragraph 43 and therefore denies same.




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     44.     Defendant is without sufficient knowledge or information to either

admit or deny the allegations of Paragraph 44 and therefore denies same.

     45.     Defendant is without sufficient knowledge or information to either

admit or deny the allegations of Paragraph 45 and therefore denies same.

     46.     Defendant is without sufficient knowledge or information to either

admit or deny the allegations of Paragraph 46 and therefore denies same.

     47.     Defendant is without sufficient knowledge or information to either

admit or deny the allegations of Paragraph 47 and therefore denies same.

     48.     Admitted in part. It is admitted that no one outside of Epic knew

when or if something would strike any certain place. Defendant is without

sufficient knowledge or information to either admit or deny the remaining

allegations contained in Paragraph 48 and therefore denies same. By way of

further response, Defendant avers that the referenced screen print Figure 2

speaks for itself, if it is in fact a true and correct copy from the referenced

website.

     49.     Admitted in part. It is admitted that Defendant learned answers

to the questions of whether a meteor was going to hit and where it was going to

hit. It is further admitted that by the time the post was released, it had already

been made public (e.g. to players and fans) that the object in the sky was in fact

a meteor and further that it would hit some part of the map. Defendant is

without sufficient knowledge or information to either admit or deny the

remaining allegations contained in Paragraph 49 and therefore denies same.

     50.     Admitted.



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      51.    Admitted in part. It is admitted that he attended the meeting,

which was broadcast on a large projector. It is further admitted that the access

was provided to and for him by the moderator of the meeting, but that Defendant

did not sign in to any access point or computer and was not given any option to.

It is further admitted that Defendant received an invitation to the meeting but

there was no password or login information provided therein.       Defendant is

without sufficient knowledge or information to either admit or deny the

remaining allegations contained in Paragraph 51 and therefore denies same.

      52.    Admitted in part. It is admitted that during the March 16, 2018

meeting, Defendant learned certain pieces of information about the game.

Defendant denies the remaining allegations contained in Paragraph 52.

      53.    Admitted.

      54.    Admitted.

      55.    Admitted.

      56.    The averments in Paragraph 56 are denied.

      57.    Admitted in part. It is admitted that with respect to the referenced

post, DiMarco told Defendant he was going to publish the post and Defendant

specifically told him not to and to otherwise not mention Defendant’s name since

Defendant. Defendant denies the remaining allegations contained in Paragraph

57.

      58.    Admitted in part. It is admitted that while speaking with

Defendant before the referenced post, DiMarco pumped Defendant with a series

of questions and that based on Defendant’s initial response, DiMarco then



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gathered on his own and guessed the correct answer, to which Defendant

confirmed. Defendant denies the remaining allegations contained in Paragraph

58.

      59.    Admitted. By way of further response, Defendant avers that while

DiMarco may have stated in his post that he would post more spoilers and

predictions, that other than as already admitted in previous responses

hereinabove of what Defendant actually did discuss with DiMarco, there was no

new information (certainly no spoilers or predictions) from Defendant for

DiMarco to post. If DiMarco had other sources or did other research on his own,

legally or illegally, that may have caused him to believe or otherwise announce

that he had more/new information, that is unknown to Defendant and

accordingly not related to the Defendant at all.

      60.    Admitted in part. It is admitted that on or about April 27, 2018

DiMarco unilaterally (and without any agreement or instruction from the

Defendant whatsoever) posted an updated version of the original post. It is

further admitted that in this second/revised post, DiMarco stated that he really

wanted his spoiler about Season 5 to happen. However, Defendant categorically

denies that DiMarco ever obtained from Defendant any additional information

other than as already admitted in previous responses hereinabove of what

Defendant actually did discuss with DiMarco because Defendant had no further

such information. Specifically Defendant never worked on, had access to, or ever

had any knowledge or information regarding Season 5. If DiMarco had other

sources or did other research on his own, legally or illegally, that may have



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caused him to believe or otherwise announce that he had more/new information

to disclose, that is unknown to Defendant and accordingly not related to the

Defendant at all. Defendant is without sufficient knowledge or information to

either admit or deny the remaining allegations contained in Paragraph 60 and

therefore denies same.

     61.      The averments in Paragraph 61 are denied.

     62.      The averments contained in Paragraph 62 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant denies the same.

     63.      Admitted. By way of further response, Defendant avers that the

referenced screen print Figure 3 speaks for itself.

     64.      Admitted in part. Admitted that the meteor hit Dusty Depot (not

Dusty Divot) rather than Tilted Towers. Defendant denies the remaining

allegations contained in Paragraph 64.

     65.      Admitted in part. It is admitted that when DiMarco asked

Defendant if the meteor was going to hit Dusty Depot, Defendant confirmed yes.

However, Defendant did not provide any further or additional other information

to DiMarco. It is further admitted that DiMarco, acting on his own (including the

wording of his own posts) stated that he would disclose more information, which

Defendant has no control or responsibility over things DiMarco may say or

threaten to do in the future. If DiMarco had other sources or did other research

on his own, legally or illegally, that may have caused him to believe or otherwise

announce that he had more/new information to disclose, that is unknown to



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Defendant and accordingly not related to the Defendant at all. Defendant denies

the remaining allegations contained in Paragraph 65.

     66.       The averments contained in Paragraph 66 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

     67.       The averments contained in Paragraph 67 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

                             CLAIMS FOR RELIEF

                         FIRST CLAIM FOR RELIEF
                             (Breach of Contract)
     68.       The responsive and affirmative allegations of Paragraphs 1-67

above are hereby re-alleged, adopted, and incorporated herein by reference as if

set forth in full.

     69.       Admitted that Plaintiff has raised a claim for breach of contract in

this action.

     70.       Admitted in part. It is admitted that Defendant entered into a

binding, valid NDA with Epic in which he agreed not to disclose Epic’s

Confidential Information. Defendant denies the remaining allegations contained

in Paragraph 70.

     71.       The averments contained in Paragraph 71 are conclusions of law to

which no response is required. To the extent a response is deemed required,



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Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

     72.       The averments contained in Paragraph 72 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

     73.       The averments contained in Paragraph 73 are conclusions of law to

which no response is required. Defendant is also without sufficient knowledge or

information to either admit or deny the allegations of Paragraph 73 and

therefore denies same.

                       SECOND CLAIM FOR RELIEF
       (Misappropriation of Trade Secrets under N.C. Gen. Stat. § 66-152,
                                 et seq.)

     74.       The responsive and affirmative allegations of Paragraphs 1-73

above are hereby re-alleged, adopted, and incorporated herein by reference as if

set forth in full.

     75.       Admitted that Plaintiff has raised a claim for misappropriation of

trade secrets and has quoted the North Carolina Trade Secrets Protection Act.

     76.       The averments contained in Paragraph 76 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.




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      77.    Admitted in part. It is admitted that Defendant was given access to

certain items of confidential information as part of his job responsibilities.

Defendant denies the remaining allegations contained in Paragraph 77.

      78.    Admitted in part. It is admitted that the quoted paragraph from

the NDA is accurate. Defendant denies the remaining averments in Paragraph

78.

      79.    Admitted in part. It is admitted that Defendant signed the

aforementioned NDA and that the language therein speaks for itself. Defendant

denies the remaining averments in Paragraph 79.

      80.    Admitted in part. It is admitted that Defendant made certain

statements to DiMarco without Epic’s authorization or consent. Defendant

denies the remaining allegations contained in Paragraph 80.

      81.    The averments contained in Paragraph 81 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant denies the same.

      82.    The averments contained in Paragraph 82 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

      83.    The averments contained in Paragraph 83 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.



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     84.       The averments contained in Paragraph 84 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant denies the same.

     85.       The averments contained in Paragraph 85 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant denies the same.

     .

                          THIRD CLAIM FOR RELIEF
         (Misappropriation of Trade Secrets under 18 U.S.C. § 1836, et seq.)

     86.       The responsive and affirmative allegations of Paragraphs 1-85

above are hereby re-alleged, adopted, and incorporated herein by reference as if

set forth in full.

     87.        Admitted that Plaintiff has raised a claim for misappropriation of

trade secrets and has quoted the Defend Trade Secrets Act.

     88.       The averments contained in Paragraph 88 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

     89.       Defendant is without sufficient knowledge or information to either

admit or deny the allegations contained in Paragraph 89 and therefore denies

same.

     90.       Defendant is without sufficient knowledge or information to either

admit or deny the allegations contained in Paragraph 90 and therefore denies

same.


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     91.     Defendant is without sufficient knowledge or information to either

admit or deny the allegations contained in Paragraph 91 and therefore denies

same.

     92.     Admitted in part. It is admitted that Defendant had access to

certain items of confidential information during his time employed by Volt and

otherwise working at Epic. And it is further admitted that he signed the

aforementioned NDA. Defendant denies the remaining allegations contained in

Paragraph 92.

     93.     The averments contained in Paragraph 93 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant denies the same.

     94.     The averments contained in Paragraph 94 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant denies the same.

     95.     The averments contained in Paragraph 95 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant denies the same.

     96.     The averments contained in Paragraph 96 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.




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     97.       The averments contained in Paragraph 97 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant denies the same.

     98.       The averments contained in Paragraph 98 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.

     99.       The averments contained in Paragraph 99 are conclusions of law to

which no response is required. To the extent a response is deemed required,

Defendant denies the same.

                          FOURTH CLAIM FOR RELIEF
                              (Civil Conspiracy)

     100.      The responsive and affirmative allegations of Paragraphs 1-99

above are hereby re-alleged, adopted, and incorporated herein by reference as if

set forth in full.

     101.      The averments in Paragraph 101 are denied.

     102.      The averments in Paragraph 102 are denied.

     103.      The averments contained in Paragraph 103 are conclusions of law

to which no response is required. To the extent a response is deemed required,

Defendant denies the same.

     104.      The averments contained in Paragraph 104 are conclusions of law

to which no response is required. To the extent a response is deemed required,

Defendant is without sufficient knowledge or information to either admit or deny

the allegations contained therein and therefore denies same.


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WHEREFORE, Defendant prays the court for the following relief:

      1.       That this Court deny all of Plaintiff’s claims for relief, both under

Federal law and North Carolina law;

      2.       That this Court not grant Plaintiff any award of attorney’s fees in

this matter;

      3.       That the court order Plaintiff to pay the costs in this matter; and

      4. That the court grant unto Defendant such other and further relief as

the Court deems just and proper.

      This 21st day of June, 2018.




                                           GUIRGUIS LAW, PA

                                           /s/ Andrea Winters Morelos
                                           Andrea Winters Morelos
                                           434 Fayetteville St., Suite 2140
                                           Raleigh, North Carolina 27601
                                           Telephone: (919) 832-0500
                                           Facsimile: (919) 246-9500
                                           a.morelos@guirguislaw.com
                                           N.C. Bar No. 30696
                                           Attorney for Defendant




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                             CERTIFICATE OF SERVICE


       I hereby certify that on June 21, 2018, I electronically filed the foregoing

ANSWER with the Clerk of Court using the CM/ECF system which will send

notification of such filing to Plaintiff’s counsel of record listed below:


                              Christopher M. Thomas
                              christhomas@parkerpoe.com
                              Catherine R. L. Lawson
                              catherinelawson@parkerpoe.com
                              Parker Poe Adams & Bernstein, LLP
                              301 Fayetteville Street, Suite 1400 (27601)
                              P.O. Box 389
                              Raleigh, North Carolina 27602-0389


       This 21st day of June, 2018.



                                              GUIRGUIS LAW, PA

                                              /s/ Andrea Winters Morelos
                                              Andrea Winters Morelos
                                              434 Fayetteville St., Suite 2140
                                              Raleigh, North Carolina 27601
                                              Telephone: (919) 832-0500
                                              Facsimile: (919) 246-9500
                                              a.morelos@guirguislaw.com
                                              N.C. Bar No. 30696
                                              Attorney for Defendant




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